                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,                        )
           Plaintiff,                             )
                                                  )        Case No.: 4:18-00153-01-CR-W-RK
v.                                                )
                                                  )        Date:   Thursday, July 16, 2020
                                                  )
 JOEL JEROME TUCKER,                              )
           Defendant.                             )

                                        MINUTE SHEET


The Honorable Roseann Ketchmark, presiding at Kansas City, Missouri

Nature of Proceeding: Change of Plea

Time commenced:       1:32 p.m.             Time terminated:       2:00 p.m.


                                       APPEARANCES

Plaintiff’s counsel: Kathleen D. Mahoney and Patrick D. Daly, AUSA
Defendant’s counsel: James R. Hobbs, Retained
Probation officer:   Matthew Falkner


(1:32 pm)    PROCEEDINGS IN COURTROOM: Defendant appears to change his plea from
             not guilty to guilty to count(s) 1s, 14s, and 16s of a Superseding Indictment, filed
             05/21/2019.

             Defendant sworn. Charge and range of punishment read. Court questions defendant
             regarding physical and mental condition. Defendant advised of right to trial by jury,
             maximum and minimum terms of incarceration and fine ranges. No Plea Agreement
             filed. Court accepts defendant’s plea; defendant adjudged guilty. Court orders
             Presentence Investigation Report.

             Defendant continued on bond pending sentencing.




Court Reporter: Jean Crawford                               Courtroom Deputy: LaTandra Wheeler
            Case 4:18-cr-00153-RK Document 38 Filed 07/16/20 Page 1 of 1
